Case 8:22-cv-00099-DOC-DFM Document 105 Filed 02/14/22 Page 1 of 5 Page ID #:993



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 9 Counsel for the Congressional Defendants
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11
                             UNITED STATES DISTRICT COURT

12                         CENTRAL DISTRICT OF CALIFORNIA
13                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,                   NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                  Defendants.
20

21
             1.   Pursuant to this Court’s January 26, 2022 Order, Defendants Bennie G.
22
                  Thompson and the Select Committee to Investigate the January 6th Attack
23
                  on the United States Capitol (collectively, the “Select Committee”) hereby
24
                  submit their response to Plaintiff’s February 9 privilege log entries.
25
             2.   Simultaneously with this Notice, the Select Committee is filing under seal
26
                  Plaintiff’s February 9 privilege log with a column indicating the Select
27
                  Committee’s objections to Plaintiff’s privilege claims.
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                                              NOTICE
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 1      3.    The Select Committee preserves its ability to argue in subsequent briefing
 2            on Plaintiff’s privilege claims that, as a general matter, none of the
 3            documents contained in the Chapman University production set can be
 4            withheld on the basis of attorney-client or work product privilege.
 5      4.    As reflected in the privilege log filed under seal simultaneously with this
 6            Notice, the Select Committee objects that Plaintiff has not provided
 7            sufficient information to determine the validity of Plaintiff’s privilege
 8            assertions. The Select Committee has been conferring with counsel for
 9            Plaintiff regarding this issue. On February 3, 2022, the Select Committee
10            requested that Plaintiff produce any engagement letter or other writing
11            clarifying the scope of his representation of former President Trump or his
12            campaign. On February 8, the Select Committee requested that Plaintiff
13            produce (1) any engagement letter(s), retainer agreement(s) or other
14            documents reflecting the scope of Plaintiff’s engagement by the former
15            President or his campaign committee; and (2) any applicable joint defense or
16            common interest agreements with the parties on the communications over
17            which Plaintiff has claimed privilege. To date, Plaintiff has not responded
18            to those requests. Without the requested information, the Select Committee
19            cannot fully assess the validity of Plaintiff’s privilege claims.
20      5.    The Select Committee notes that although Plaintiff provided revised January
21            31 and February 2 privilege logs containing further information regarding
22            certain entries, the additional information provided does not fully resolve the
23            noted deficiencies.
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 1                                      Respectfully submitted,

 2                                      /s/ Douglas N. Letter
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                                        ERIC R. COLUMBUS
 6                                        Special Litigation Counsel
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 9                                      Counsel for Congressional Defendants
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11
12 Dated: February 14, 2022
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                                      NOTICE
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 1                              CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5         OFFICE OF GENERAL COUNSEL
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 8         On February 14, 2022, I served the NOTICE on the interested parties in this
     action:
 9
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18         Attorneys for Plaintiff John C. Eastman
19
          (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20          The document was served on the following via The United States District Court –
21
            Central District’s CM/ECF electronic transfer system which generates a Notice
            of Electronic Filing upon the parties, the assigned judge, and any registered user
22          in the case:
23
          (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                  correct, and that I am employed at the office of a member of
                    the bar of this Court at whose direction the service was made.
25
26         Executed on February 14, 2022 here, at Bethesda, Maryland.
27
                                                     /s/ Douglas N. Letter
28

                                    CERTIFICATE OF SERVICE
